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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                  Criminal No.: 1: 22-cr-00354-RCL-1 and 2

-v-                                               DEFENDANT’S MOTION IN LIMINE
                                                  TO EXCLUDE FALSIFIED
RICHARD SLAUGHTER, and                            PHOTOGRAPH CREATED FOR
CADEN GOTTFRIED,                                  LITIGATION

                      Defendants.



      DEFENDANT’S MOTION IN LIMINE TO EXCLUDE FALSIFIED PHOTOGRAPH
                 CREATED FOR LITIGATION

       Defendants Slaughter and Gottfried, by and through undersigned counsel, hereby

respectfully moves the Court to enter an order in limine to exclude from the proceedings at trial

testimony, derivative evidence, references to or argument upon a falsified, inadmissible,

unauthenticated photograph misrepresenting alleged restricted grounds.

I.     GOVERNING LAW

           A. Federal Rules of Evidence Rule 403: Prejudicial or Confusing to Jury

       While the Federal Rules of Evidence are a seemingly self-contained set of rules, it is not

often remarked that they exist of course within the context of the constitutional mandate to

provide litigants and especially criminal defendants with a fair trial consistent with constitutional

due process. Here, the risk of confusing and misleading by ambiguity or lack of clarity the jury

and possibly encouraging the jury to reach an unbridled lawless verdict may seriously encroach

into the territory of denying due process. While it is a necessary balance between the right of

party presentation against the Rules of Evidence and guardrails of admissible evidence, the
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constitutional due process right to a fair trial is also in the mix.

        Also, where some rules of evidence might be waived by consent, Defendants Slaughter

and Gottfried hereby provides demand and notice early ahead of trial that they object to and

rejects the following improper matters and makes clear that they do not waive or agree to their

inclusion in the trial.

        Federal Rules of Evidence, Rule 403, provides:

                The court may exclude relevant evidence if its probative value is
                substantially outweighed by a danger of one or more of the following:
                unfair prejudice, confusing the issues, misleading the jury, undue
                delay, wasting time, or needlessly presenting cumulative evidence.

                     NOTES OF ADVISORY COMMITTEE ON PROPOSED RULES 1

                      The case law recognizes that certain circumstances call for the
             exclusion of evidence which is of unquestioned relevance. These
             circumstances entail risks which range all the way from inducing
             decision on a purely emotional basis, at one extreme, to nothing more
             harmful than merely wasting time, at the other extreme. Situations in this
             area call for balancing the probative value of and need for the evidence
             against the harm likely to result from its admission. Slough, Relevancy
             Unraveled, 5 Kan. L. Rev. 1, 12–15 (1956); Trautman, Logical or Legal
             Relevancy—A Conflict in Theory, 5 Van. L. Rev. 385, 392 (1952);
             McCormick §152, pp. 319–321. The rules which follow in this Article
             are concrete applications evolved for particular situations. However, they
             reflect the policies underlying the present rule, which is designed as a
             guide for the handling of situations for which no specific rules have been
             formulated.

                     Exclusion for risk of unfair prejudice, confusion of issues,
             misleading the jury, or waste of time, all find ample support in the
             authorities. “Unfair prejudice” within its context means an undue
             tendency to suggest decision on an improper basis, commonly, though
             not necessarily, an emotional one.

                      The rule does not enumerate surprise as a ground for exclusion,
             in this respect following Wigmore's view of the common law. 6
             Wigmore §1849. Cf. McCormick §152, p. 320, n. 29, listing unfair
             surprise as a ground for exclusion but stating that it is usually “coupled
             with the danger of prejudice and confusion of issues.” While Uniform
             Rule 45 incorporates surprise as a ground and is followed in Kansas
             Code of Civil Procedure §60–445, surprise is not included in California

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    Legal Information Institute, Cornell Law School, https://www.law.cornell.edu/rules/fre/rule_403




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              Evidence Code §352 or New Jersey Rule 4, though both the latter
              otherwise substantially embody Uniform Rule 45. While it can scarcely
              be doubted that claims of unfair surprise may still be justified despite
              procedural requirements of notice and instrumentalities of discovery, the
              granting of a continuance is a more appropriate remedy than exclusion of
              the evidence. Tentative Recommendation and a Study Relating to the
              Uniform Rules of Evidence (Art. VI. Extrinsic Policies Affecting
              Admissibility), Cal. Law Revision Comm'n, Rep., Rec. & Studies, 612
              (1964). Moreover, the impact of a rule excluding evidence on the ground
              of surprise would be difficult to estimate.

                      In reaching a decision whether to exclude on grounds of unfair
              prejudice, consideration should be given to the probable effectiveness or
              lack of effectiveness of a limiting instruction. See Rule 106 [now 105]
              and Advisory Committee's Note thereunder. The availability of other
              means of proof may also be an appropriate factor.

      II.       MOTION IN LIMINE TO EXCLUDE FALSIFIED PHOTOGRAPH

       The Government has systematically attempted to rely on the following altered

photograph to make it appear that the USCP defined a “restricted area” within the meaning of 18

U.S.C. § 1752 effective on January 6, 2021. This photograph has been falsified.




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       There was of course never any red line painted on the ground around the U.S. Capitol on

or about January 6, 2021. The photograph has been falsified, doctored, or altered by a computer

generated red line being added much like the space ships in movies like Star Wars.

       Captain Tia Summers of the U.S. Capitol Police (USCP) specifically testified in cross-

examination on July 11, 2023, in the case of United States v. David Lesperance, et al., Case No

1:21-cr-575 (JDB). Captain Summers specifically testified that this photograph (being mis-used

as evidence) was actually created for the purposes of litigation. That is, no such photograph

existed on January 6, 2021, but it was fabricated later for use in these prosecutions. As an

artifice created for litigation purposes, it is not evidence and cannot be used as evidence.

       Furthermore, if one may attempt to understand this photograph despite its uncurable

defects it is clear that it is not a photograph of January 6, 2021. There appear to be parked cars

in the photograph – but no people. That is, there are no crowds visible. This is not a photograph

showing events or images of January 6, 2021.

       The underlying photograph apparently purports to be an aerial photograph viewing the

top of the U.S. Capitol dome from above, such as from the view of a bird, an airplane, or satellite

in orbit. But the admissibility and/or authentication of a photograph would require either the

live, in-court testimony of the person who took the photograph or someone familiar with the

view shown in the photograph. No one has been identified who is familiar with flying above the

U.S. Capitol and viewing it from the air. The photograph cannot be authenticated or admissible.

      III.    NOT VALID AS A DEMONSTRATIVE EXHIBIT

       Neither can the photograph be used as a demonstrative exhibit.

       Demonstrative evidence is designed to “organize or aid the jury’s examination of

testimony or documents which are themselves admitted into evidence.” U.S. v. Bray, 139 F.3d




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1104, 1111 (6th Cir. 1998) (referring to such evidence as “pedagogical devices.”) (emphasis

added). This includes things such as diagrams, timelines, animations, summaries of already-

admitted documents or testimony, and charts. Id.

       But the Government does not lay a foundation by admissible testimony or documents of a

restricted area or restricted grounds whose contours may be better understood by the altered

photograph. On the contrary, the Government offers the doctored photograph instead of

establishing the existence and dimensions of a restricted area, not in aid of understanding other

reliable, admissible evidence. The photograph is not based upon sound evidence, but a dodge for

not submitting that underlying evidence. To use the photograph as a demonstrative exhibit, first

the Government would have to establish the metes and bounds of the area supposedly restricted.

       Demonstrative evidence should be admitted if it is a reasonably accurate

representation of the evidence it is based on, and its probity is not substantially

outweighed by undue prejudice. U.S. v. Taylor, 210 F.3d 311, 315-16 (5th Cir.

2000) (“[a] necessary precondition to the admission of documents is that they

accurately reflect the underlying records or testimony, particularly when they are based,

in part, on … factual assumptions”); Burchfield v. CSX Transportation, Inc., 636 F.3d

1330, 1337 (11th Cir. 2011) (“experimental or demonstrative evidence, like any evidence

offered at trial, should be excluded `if its probative value is substantially outweighed by

the danger of unfair prejudice, confusion of the issues, or misleading the jury.”); Bray,

139 F.3d at 1111; Milkiewicz, 470 F.3d at 399-400; See, e.g., Lies v. Farrell Lines, Inc.,

641 F.2d 765, 773 (9th Cir. 1981) .

       The jury can view demonstrative evidence at trial, but the demonstrative exhibits will not

be available to the jury in deliberations and often come with a limiting instruction on their

use. See id. U.S. v, Milkiewicz, 470 F.3d 390, 397, 398-399 (1st Cir. 2006); U.S. v. Taylor, 210


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F.3d 311, 315 (5th Cir. 2000); U.S. v. White, 737 F.3d 1121, 1136 (7th Cir. 2013); Rogers v.

Raymark Indus, 922 F.2d 1426, 1432 (9th Cir. 1991); U.S. v. Stiger, 413 F.3d 1185, 1198

(10th Cir, 2005); Robinson v. Mo. Pac. R. Co., 16 F.3d 1083, 1088 (10th Cir. 1994). But see, e.g.,

Bray, 139 F.3d at 1112 (demonstratives might be admitted into evidence if they are “so accurate

and reliable a summary or extrapolation of testimonial or other evidence in the case as to

reliably assist the factfinder….”) (emphasis added); Milkiewicz, 470 F.3d at 398.

      IV.     RED LINE IS INACCURATE – CROSSES ROADS

       A careful examination of the red line added to the photograph shows that at the bottom

(apparently Southern end) the false red line is drawn such that part of a road crosses onto the

other side of the red line. That is, not only does the red line extend beyond several paths, but

parked cars are visible. These are not footpaths, but roads traveled by vehicles.

        Clearly, no restricted area on January 6, 2021, extended across the road to the other side

of the road to the South. The photograph is not merely defective as to authentication or

foundation but plainly false. The red line added as special effects is not where any restricted

grounds was actually designated in fact. The positioning of the red line does not correspond to

any restricted area (restricted grounds or building) declared around the U.S. Capitol on January

6, 2021. Again, the parked cars indicate the difference between foot paths and roads.

      V.      PHOTOGRAPH CANNOT BE AUTHENTICATED

       Furthermore, this is a bird’s eye photograph of the Capitol from above, to which a red

line has been digitally (by computer) added artificially. There is no actual photograph of a red

line painted on the ground. No red line was ever painted on the ground as the photograph

purports to depict.

       Because it is an altered photograph, that does not represent the real-world view of the




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Capitol, the photograph and any similar photographs should be excluded from evidence at trial. It

would be unduly prejudicial and would confuse the jury.

       Furthermore, it is difficult to envision how the photograph or similar photographs would

be authenticated and sponsored into evidence. Someone would either have to testify “I took the

photograph flying above the Capitol” or “I am familiar with the view from above the Capitol and

this is a fair representation of looking down on the Capitol from high above the ground.”

Certainly no pigeon or other bird who took the photograph has been called to testify.


      VI.     PHOTOGRAPH IS IRRELEVANT – IT WAS NEVER POSTED OR
              VISIBLE AT THE U.S. CAPITOL GROUNDS OR BUILDING
       The Government should be excluded from making argument about, making reference to,

presenting on or introducing evidence of the bird’s eye view photograph of the Capitol above or

any similar photographs unless the Government can prove that such photograph was prominently

posted on the U.S. Capitol Grounds or at entrances to the Grounds or around the Capitol

building. (It was not. It was not visible to any of the crowds.)

       The fact that no one in the public had access to this photograph with the added red line

before January 6, 2021, and no one had any notice of its purported contents renders it of no legal

value and no probative value. It would be prejudicial and confusing to the jury to refer to or

show a photograph purporting to show were an area was restricted without the jury

understanding that no one actually saw that photograph or anything like it visible on January 6,

2021, at or near the U.S. Capitol.

       The U.S. Capitol Grounds were not in fact restricted within the meaning of 18 U.S.C. §

1752 if no legally-effective notice was given to those accused of violating said restriction.

       18 U.S.C. § 1752 is really not an anti-trespassing statute. It involves the presence of a

Secret Service protectee.


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       Notice that under 18 U.S.C. § 1752 how an area could be restricted one day, say on a

Tuesday, but not restricted on the following day, say on Wednesday. It is not the area that is

restricted but area around the immediate path of the Secret Service protectee.

       A Secret Service liaison officer or site agent assigned to the Vice President “E.G.” also

testified in cross-examination on July 11, 2023, in the case of United States v. David Lesperance,

et al., Case No 1:21-cr-575 (JDB). Secret Service site agent E.G. was very clear that the size and

contours of a restricted area are determined by the Secret Services expectations for where, when,

and how the Secret Service protectee will be and will travel. When asked about a protectee

attending a sporting event, for example, E.G. was very clear that the actual pathway of the

protectee would govern what area is restricted (although lower-level safeguards would apply to

attendees showing their other-wise-required tickets and the Secret Service setting up

magnetometers). 2

       Finally, Defendants Slaughter and Gottfried like hundreds of other demonstrators at

the Capitol on January 6, 2021 – though curiously not left-wing or anarchist demonstrators who

assaulted the Trump White House in May to June 2020 in a violent riot nor those who invaded

the Hart Senate Office Building and the Senate Judiciary Committee to prevent the confirmation

of Brett Kavanaugh to the U.S. Supreme Court from taking place – are charged with violating 18

U.S.C. § 1752.

       However, 18 U.S.C. § 1752 only applies to a restricted area concerning a Secret Service

protectee. A building closed for any other reason would not support a prosecution under 18

U.S.C. § 1752. The statute does not criminalize entering a building or grounds closed due to



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       Curiously, arrangements on January 6, 2021, did not meet the standards that E.G. testified
to. The purportedly restricted area was not as she testified limited to the locations where the
Vice President was expected to be and to travel. However, E.g. testified that the restricted area
cannot be larger than necessary nor mis-shapen in relation to the Secret Service protectees
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planned location and movements, per her testimony.




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COVID-19. Entering a closed government building might violate some other statute, but not 18

U.S.C. § 1752. Viewing violence does not violate 18 U.S.C. § 1752. Hearing an alarm is not a

violation of 18 U.S.C. § 1752. Seeing police officers is not a violation of 18 U.S.C. § 1752.

Only a entering a properly and legally-established restricted area concerning the current or

imminent presence of a protectee can support a charge under 18 U.S.C. § 1752.

        For example, if the region’s 2011 earthquake that damaged the spires of the National

Cathedral in Washington, D.C. had triggered the temporary closing of the U.S. Capitol, it could

not be a violation of 18 U.S.C. § 1752 for a person to nevertheless enter the building. If the

Capitol building or some portion of it were closed for fumigation or painting or repairs, there

would be no violation of 18 U.S.C. § 1752 for someone entering the building though closed.

Again, perhaps there is some other law that might apply, but not a charge under 18 U.S.C. §

1752.

        As a result, the doctored photograph is objectionable, inadmissible, and also entirely

irrelevant.

        VII.   RESTRICTED AREA MUST BE FIXED IN LOCATION

        The problem appears to be that the USCP, much less the Secret Service, never specified a

supposedly restricted area, but merely put up bike racks to mark a restricted area. But those bike

racks are movable and even a single strong man can move one alone. Thus, once the bike racks

were moved, the restricted area was undefined. If the definition of the restricted grounds is

merely where the bike racks were placed, but those bike racks can be moved, then there is no

legally effective designation of restricted grounds under 18 U.S.C. § 1752. An area that is not

fixed in place cannot be a restricted area. This appears to be the reason that the Government

cannot substantiate a demonstrative exhibit with underlying evidence of the legal contours.




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      VIII. CONCLUSION

       If the Government wishes to establish that the presence and planned movements of a

Secret Service protectee created a restricted area (grounds or building) on January 6, 2021, the

Government must use actual evidence to establish this beyond a reasonable doubt. The falsified

photograph created purely for litigation cannot be a substitute for actual evidence, not even as a

demonstrative exhibit. A demonstrative exhibit summarizes what is already in evidence.

October 6, 2023                               RESPECTFULLY SUBMITED,

                                              John M. Pierce, Esq.
                                              Counsel for Defendant

                                              /s/ John Pierce

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                                CERTIFICATE OF SERVICE

       I hereby certify that my law firm is filing the foregoing with the Court by its ECF record-
keeping and filing system, which automatically provides a copy to:

                              MATTHEW M. GRAVES
                              UNITED STATES ATTORNEY

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